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                           pUNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    JESSICA BERGER                                               CIVIL ACTION


    VERSUS                                                       NO: 15-4102


    ROLLINS, INC., ET AL.                                        SECTION: "A" (4)




                                  ORDER AND REASONS


        Before the Court is a Motion for Summary Judgment (Rec. Doc. 35) filed by

defendants Rollins, Inc. and Orkin, LLC (collectively “Orkin”). Plaintiff Jessica Berger

opposes the motion. The motion, noticed for submission on February 22, 2017, is before

the Court on the briefs without oral argument. For the reasons that follow, the motion is

GRANTED.

        I.     BACKGROUND

        Plaintiff Jessica Berger filed this suit against Orkin, her former employer, asserting

claims of hostile work environment (gender) and retaliation under Title VII and state law.1

Berger began her employment with Orkin in September 2013 at its office in Houma,

Louisiana. Berger alleges that her work environment changed in early 2014 when Orkin




1
  Like the parties, the Court will not engage in a separate legal analysis under state law. In
discrimination cases Louisiana courts follow the same analysis set forth in federal cases. See
Brittain v. Fam. Care Servs., Inc., 801 So. 2d 457, 461 (La. App. 2nd Cir. 2001).


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brought in H. Russell Fielder as the new branch manager.2 Berger alleges that Fielder

engaged in offensive conduct while in her presence and that he did so on a daily or

weekly basis. Berger claims that in May 2014 she specifically told Fielder to stop but

ultimately she was disciplined for using profane language in the workplace. Berger

contends that Fielder began to demean and humiliate her and in August 2014 Orkin

terminated her employment.3

       Orkin moves for summary judgment arguing that the incidents of inappropriate

conduct that underlie Berger’s hostile work environment claim occurred too sporadically

over a five month period to be actionable. Orkin also contends that Berger cannot create

an issue of fact as to her retaliation claim because the undisputed facts demonstrate that

she was terminated as part of a workforce reduction.

       A jury trial is scheduled to commence on April 24, 2017.4

       II.     DISCUSSION

       Summary judgment is appropriate only if "the pleadings, depositions, answers to


2
  The Court notes that Fielder’s predecessor (Wayne Zimmerman) was rarely in the office for the
last two years that he held the position. (Rec. Doc. 41-5, Mosley deposition at 30). Therefore,
complaints of offensive conduct aside, it is not unusual that Berger’s work environment changed
significantly when Fielder replaced Zimmerman. In fact, the entire branch experienced a
difference when Fielder took over because he was there every day and was far more involved in
the branch’s day to day operations in comparison to his predecessor. (Id. at 50). Thus, Berger’s
suggestion that the difference in Fielder’s management style uniquely impacted her is not
supported by the record.
3
  The Court notes that Fielder’s version of events conflicts with Berger’s. This factual dispute will
not be material, however, if the conduct as alleged by Berger does not rise to the level necessary
to support a Title VII claim.
4
  On April 5, 2017, the Court cancelled the pretrial conference in order to have additional time to
consider the parties’ respective arguments and evidence pertaining to the summary judgment
motion. (Rec. Doc. 51).

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interrogatories, and admissions on file, together with the affidavits, if any," when viewed

in the light most favorable to the non-movant, "show that there is no genuine issue as to

any material fact." TIG Ins. Co. v. Sedgwick James, 276 F.3d 754, 759 (5th Cir. 2002)

(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50 (1986)). A dispute about a

material fact is "genuine" if the evidence is such that a reasonable jury could return a

verdict for the non-moving party. Id. (citing Anderson, 477 U.S. at 248). The court must

draw all justifiable inferences in favor of the non-moving party. Id. (citing Anderson, 477

U.S. at 255). Once the moving party has initially shown "that there is an absence of

evidence to support the non-moving party's cause," Celotex Corp. v. Catrett, 477 U.S.

317, 325 (1986), the non-movant must come forward with "specific facts" showing a

genuine factual issue for trial. Id. (citing Fed. R. Civ. P. 56(e); Matsushita Elec. Indus.

Co. v. Zenith Radio, 475 U.S. 574, 587 (1986)). Conclusional allegations and denials,

speculation, improbable inferences, unsubstantiated assertions, and legalistic

argumentation do not adequately substitute for specific facts showing a genuine issue for

trial. Id. (citing SEC v. Recile, 10 F.3d 1093, 1097 (5th Cir. 1993)).

       A.     Hostile Work Environment

       The question before the Court is whether Berger has presented sufficient

evidence to create an issue of fact as to whether the harassment that she alleges was so

severe or pervasive as to alter a condition of her employment.

       The creation of a hostile work environment through gender-based harassment is a

form of discrimination proscribed by Title VII. E.E.O.C. v. Boh Bros. Const. Co., LLC, 731

F.3d 444, 452 (5th Cir. 2013) (citing Vance v. Ball State Univ., 133 S. Ct. 2434, 2455


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(2013)). Where a harassment claim arises out of a supervisor's conduct, "there are four

elements of a hostile working environment claim: (1) that the employee belongs to a

protected class; (2) that the employee was subject to unwelcome sexual harassment; (3)

that the harassment was based on [a protected characteristic]; and (4) that the

harassment affected a ‘term, condition, or privilege’ of employment.” Boh Bros., 731 F.3d

at 453 (citing Lauderdale, 512 F.3d at 162-63). To affect a term, condition, or privilege of

employment, the harassing conduct “must be sufficiently severe or pervasive to alter the

conditions of [the victim's] employment and create an abusive working environment.” Id.

(quoting Aryain v. Wal–Mart Stores of Tex., L.P., 534 F.3d 473, 479 (5th Cir. 2008)).

Sexually discriminatory verbal intimidation, ridicule, and insults may be sufficiently

severe or pervasive as to alter the conditions of the victim's employment and create an

abusive working environment that violates Title VII. Farpella-Crosby v. Horizon Health

Care, 97 F.3d 803,806 (5th Cir. 1996) (citing Harris v. Forklift Sys., Inc., 114 S. Ct. 367,

370-71 (1993)). But the "mere utterance of an . . . epithet which engenders offensive

feeling in an employee" is not alone sufficient to support Title VII liability. Id. (quoting

Weller v. Citation Oil & Gas Corp., 84 F.3d 191, 194 (5th Cir. 1996)). The court uses an

objective “reasonable person” standard to evaluate severity and pervasiveness. Boh

Bros., 731 F.3d at 453 (citing Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75,

82 (1998)). Ultimately, whether an environment is hostile or abusive depends on the

totality of circumstances. Id. (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 23 (1993)).

       Orkin argues that the conduct that Berger alleges on Fielder’s part was not severe

or pervasive enough to support a claim for hostile work environment sexual harassment.


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Orkin characterizes the conduct as sporadic, isolated incidents occurring only a handful

of times over a five month period. Orkin argues that the allegedly offensive conduct does

not rise to the level of conduct necessary to support a cause of action for hostile work

environment.

       Orkin offers the following summary of the alleged incidents, which is consistent

with Berger’s deposition testimony:

♦ In the same conversation in which she claims to have overhead Fielder remark that he
“jerked off in a cup” to give a sperm sample, she claims he also stated that he “bought his
wife titties;”

♦ On approximately five occasions Fielder grabbed or rubbed his crotch in her presence;

♦ On at least seven occasions Fielder stared at her breasts;

♦ On one occasion Fielder came into her office, walked behind her chair, leaned up against
it and said he was looking at her appointment book. She claims that he leaned down and
stated, “You smell good. What kind of perfume are you wearing?” At that point she
slammed her appointment book and Fielder left.

♦ On one other occasion she was on the phone and Fielder just stood in the doorway of
her office staring and leering “in an aggressively weird way” for at least ten minutes and
then walked away;

♦ On another occasion she and Fielder were discussing a contract and she went into her
office to retrieve it. Berger bent over to dig in her bag to get the contract and when she
stood up, Fielder was within a foot or two of her, and then he got a phone call and left;

♦ On one occasion when she and Fielder were discussing her production, Fielder
commented that in order to get the bigger clients she “should wear low-cut blouses and
short skirts and bring donuts to specifically the oilfield guys.”

(Rec. Doc. 35-8, Orkin’s Memo in Support at 5-6).

       Orkin also points out that on May 13, 2014—a date that would have fallen

squarely within the timeframe when the alleged harassment was occurring—Berger

completed an intake questionnaire with the EEOC and in that questionnaire Berger

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complains only of disability discrimination. (Rec. Doc. 35-3). Berger complained that

Fielder and another employee, Lisa Mosley, were attacking her character on a daily

basis and alienating her from coworkers. (Id.). Berger was convinced that her bipolar

disorder was being used against her. (Id.). The narrative contains no reference

whatsoever to the conduct that Berger now alleges was so offensive as to create an

abusive work environment.5

       Then on August 27, 2014, Berger filed a charge of discrimination with the EEOC

and checked the box for retaliation discrimination, not sex. (Rec. Doc. 35-4). The litany of

complaints that she includes in her charge narrative are not related to the incidents of

gender harassment that she alleges in this action. With respect to Fielder, Berger

complains that “[h]e has been nothing but rude, condescending and disrespectful to me.

He argues with me about everything including pit bull attacks on children . . . I am treated

as if I am inferior and I honestly believe it is because I am a woman . . . .” (Id. at 2). Once

again, the narrative contains no reference whatsoever to the conduct that Berger now

alleges was so offensive as to create an abusive work environment. The narrative

reiterates that Berger believed at the time that she was being mistreated because of her

bipolar disorder, not because Fielder was single-handedly creating a sexually abusive

work environment.

       It was not until March 5, 2015, long after Berger had been terminated that she



5
  The narrative does include a reference to the “sperm sample” conversation in the sales room.
That conversation may very well be an example of a topic best left out of the workplace but it
does not constitute sexual harassment directed at anyone, much less Berger who just happened
to walk into the sales room when her coworkers were talking.

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filed a new charge of discrimination with the EEOC that for the first time claimed sex

discrimination along with disability discrimination and retaliation. (Rec. Doc. 35-5).

       Clearly, the fact that Berger’s detailed EEOC narratives made no mention

whatsoever of the conduct that she now alleges was so severe or pervasive enough to

alter the conditions of her employment is troubling and casts doubt on the suggestion

that Berger herself perceived the conduct to be subjectively offensive at the time it was

occurring. Of course, any inferences to be drawn from the EEOC record would go to the

weight of the evidence. In other words, it would be up to the trier of fact to determine the

extent to which the EEOC documents undermine Berger’s sexual harassment claim.

       Likewise, it would be the trier of fact’s role to determine if Berger’s sexual

harassment claim is undermined by the fact that that no other employee in the small

Houma office corroborates her claims of pervasive sexually harassing behavior toward

her by Fielder.6 Thus, these issues do not form part of the Court’s analysis.

       But applying the totality of the circumstances test, the Court is persuaded that the

conduct that Berger alleges is objectively neither severe nor pervasive enough to have

altered a term or condition of her employment. The incidents are not severe by any

stretch of the imagination. The incident with the sperm sample conversation wasn’t even

directed at Berger. She simply walked into the coffee room and overheard a

conversation that she found inappropriate for the workplace. The remainder of the

conduct may be unprofessional in the workplace but it is not so severe or egregious as to


6
 The Court assumes that Berger would have included any such corroborating evidence with her
opposition to the motion for summary judgment if such evidence did in fact exist.


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create an abusive workplace environment for purposes of a Title VII claim.7 Fielder had

no physical contact with Berger, never spoke to her in a sexually suggestive or lewd

manner, and none of the alleged conduct undermined Berger’s ability to do her job.

       Likely recognizing that the conduct does not meet any legal test for severity,

Berger attempts to grasp on the concept of pervasiveness by emphasizing that incidents

that are not particularly severe may very well be pervasive due to the frequency with

which they occur. Berger stresses that the question whether offensive gender-based

conduct is actionable is subject to a disjunctive test—whether the conduct is severe or

pervasive. Berger contends that incidents that are not particularly severe may very well

be pervasive due to the frequency with which they occur.

       Berger is correct in that pervasiveness of conduct may carry the day when

severity is lacking but Berger fails to recognize that pervasiveness of conduct is not the

end game. Even if the incidents that Berger alleges are considered to be pervasive due

to frequency, they nonetheless are insufficient from an objective standpoint to have

altered the conditions of her employment and created an abusive working environment.

Berger might have perceived subjectively that her work environment was abusive but

she has failed to create an issue of fact that her abusive environment was related to

sexual harassment. The motion for summary judgment is therefore GRANTED as to the

sexual harassment hostile work environment claim.



7
  The Court has not been able to discern from the record whether the crotch incidents, or
perhaps “adjustments” as Fielder characterized them, were even directed at Berger or merely
occurred in her presence. Berger has not suggested that Fielder was actually fondling himself for
sexual gratification in her presence.

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       B.     Retaliation

       Title VII’s anti-retaliation provision states in relevant part:

       It shall be an unlawful employment practice for an employer to discriminate
       against any of his employees . . . because he has opposed any practice
       made an unlawful employment practice by this subchapter, or because he
       has made a charge, testified, assisted, or participated in any manner in an
       investigation, proceeding, or hearing under this subchapter.

42 U.S.C. § 2000e-3(a).

       Title VII claims of unlawful retaliation based on circumstantial evidence are

analyzed under the burden-shifting framework set forth in McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973). Vargas v. McHugh, 630 Fed. Appx. 213, 216 (5th Cir. 2015)

(per curiam). First the plaintiff must establish a prima facie case of retaliation by showing

that 1) she participated in an activity protected under the statute; 2) her employer took an

adverse employment action against her; and 3) a causal connection exists between the

protected activity and the adverse action. Feist v. La. Dep’t of Justice, 730 F.3d 450, 454

(5th Cir. 2013) (citing McCoy v. City of Shreveport, 492 F.3d 551, 556-57 (5th Cir. 2007)).

If the plaintiff makes a prima facie showing of retaliation, the burden shifts to the

employer to state a legitimate, non-retaliatory reason for its decision. Id. (quoting

LeMaire v. Louisiana, 480 F.3d 383, 388-89 (5th Cir. 2007)). Finally, the burden shifts

back to the plaintiff to prove that the employer’s proffered reasons are a pretext for

retaliation. Id. The employee meets this burden by showing that the adverse action

would not have occurred “but for” the employer’s retaliatory motive. Id. (citing Univ. of

Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533 (2013)).

       The Supreme Court’s Nassar decision clarifies that a plaintiff asserting a Title VII


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retaliation claim must meet a higher standard of causation than a plaintiff claiming Title

VII discrimination. Zamora v. City of Houston, 798 F.3d 326, 331 (5th Cir. 2015) (quoting

Nassar, 133 S. Ct. at 2534). Thus, mere proof that retaliation was a “motivating factor”

for an adverse employment action will not suffice. Rather, the plaintiff must establish that

her protected activity was a “but for” cause of the alleged adverse action by the

employer. Id. In order to avoid summary judgment, the plaintiff must show “a conflict in

substantial evidence” on the question of whether the employer would not have taken the

action “but for” the protected activity. Feist, 730 F.3d at 454 (quoting Long v. Eastfield

College, 88 F.3d 300, 308 (5th Cir. 1996)).

       Berger filed charges with the EEOC, which constitutes protected activity, and she

was later terminated from employment. Berger must establish a causal connection

between the protected activity and her termination in order to complete her prima facie

case of retaliatory discharge.

       Berger presents no evidence that but for her protected activity she would not have

been terminated. Berger’s subjective beliefs as demonstrated by her deposition

testimony are not evidence of unlawful discrimination. (Rec. Doc. 35-1 at 150-56).

       But even assuming that Berger satisfied her burden of establishing a prima facie

case, she presents no evidence to impugn Orkin’s non-discriminatory reason for

terminating her. According to James Earl Thomas, Assistant Division President for the

South Central Division of Orkin, Berger was terminated because her position was

eliminated from the Houma office. During the timeframe relevant to this action, Thomas

was the Region Manager for Orkin’s Louisiana/Mississippi Region and he was


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responsible for overseeing the Orkin branch located in Houma, Louisiana. (Rec. Doc. 35-

2, Thomas decl. ¶ 2). Thomas states that in July/August of 2014 he was under pressure

to reduce costs in his region to meet the 2014 budget. (Id. ¶ 7). Thomas alone, without

input from Fielder or any branch managers, eliminated Berger’s position in addition to a

position in Baton Rouge and a position in Jackson, Mississippi. All three eliminated

positions were that of Commercial Account Manager, which was the position that Berger

held. (Id.). As of January 20, 2017, when Thomas executed his declaration, those

positions had not been reinstated. (Id. ¶ 9).

       The burden now shifts to Berger to prove that Orkin’s proffered reason is a pretext

for retaliation. To meet this burden Berger must show that Orkin would not have fired her

“but for” her complaints of discrimination. In her opposition, Berger argues that the

elimination of her position was merely a smokescreen because she and other

salespersons are paid a minimal guaranteed salary and are primarily paid on

commission.

       This argument is unavailing. Even if Berger could establish that Orkin’s proffered

reason was actually false, that alone would not necessarily mean that the proffered

reason was a pretext for unlawful retaliation because there may be other

nondiscriminatory reasons for an adverse employment action that are not actionable

under Title VII.

       Simply, Berger has no evidence to create an issue of fact as to pretext,

particularly when one considers that two other individuals who had nothing to do with

Berger’s case lost their jobs in the staff reductions. The burden is not on Orkin to prove


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that it fired Berger for non-discriminatory reasons but rather on Berger to prove that “but

for” her protected activity Orkin would not have fired her. The best that Berger could ever

hope to prove is that retaliation had been a motivating factor in the otherwise non-

discriminatory reason to terminate her, but post Nassar that would not be enough to

meet her burden of proof. Orkin is entitled to judgment as a matter of law on Berger’s

retaliatory discharge claim and the motion for summary judgment is GRANTED as to this

claim.

         Accordingly;

         IT IS ORDERED that the Motion for Summary Judgment (Rec. Doc. 35) filed

by defendants Rollins, Inc. and Orkin, LLC is GRANTED and Plaintiff’s complaint is

DISMISSED with prejudice.

         April 12, 2017


                                           JAY C. ZAINEY
                                     UNITED STATES DISTRICT JUDGE




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